Case 1:18-cv-00039-JTN-SJB ECF No. 153 filed 03/06/20 PageID.2141 Page 1 of 2



                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY,
                                       No. 1:18-cv-00039-JTN-SJB
      Plaintiff,
                                       HON. JANET T. NEFF
v.
                                       MAG. SALLY J. BERENS
WOLVERINE WORLD WIDE, INC.,
                                       STIPULATION OF DISMISSAL OF
      Defendant.                       THIRD-PARTY ACTION

and

PLAINFIELD CHARTER TOWNSHIP
and ALGOMA TOWNSHIP,

      Intervening Plaintiffs,

v.

WOLVERINE WORLD WIDE, INC.,

      Defendant.
                                   /

WOLVERINE WORLD WIDE, INC.,

      Third-Party Plaintiff,

v.

3M Corporation,

      Third-Party Defendant.
                                   /
Case 1:18-cv-00039-JTN-SJB ECF No. 153 filed 03/06/20 PageID.2142 Page 2 of 2



           Third-Party Plaintiff Wolverine World Wide, Inc. (“Wolverine”) and Third-Party

Defendant 3M Company (“3M”) have reached a confidential settlement resolving all of their

claims (ECF No. 31) and counterclaims (ECF No. 89) against each other. Accordingly,

Wolverine and 3M stipulate that the third-party action between them is hereby dismissed with

prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), (c), with each party bearing its

own attorneys’ fees and costs.

Dated: March 6, 2020
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